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                                  Susman Godfrey l.l.p.
                                          a registered limited liability part nership




November 19, 2024
VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007
           RE:      Authors Guild v. OpenAI Inc., 23-cv-8292 (S.D.N.Y.) and Alter v. OpenAI Inc.,
                    23-cv-10211 (S.D.N.Y.): Data Working Group
Dear Judge Wang:

        Pursuant to Rule II(b) of Your Honor’s Individual Practices, Plaintiffs seek a conference
and request that the Court order OpenAI and Microsoft to search and produce documents relating
to the Data Working Group.1 The Data Working Group

                                                                             Though they do not
deny that those documents are highly relevant to the case, Defendants claim that reviewing them
is too burdensome because some of them are privileged. That argument is meritless.

           Background.




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    The parties have met and conferred about the relief sought and did not reach agreement.
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       Plaintiffs sought documents about the Data Working Group. RFP 72. Defendants refuse to
even review those documents. They assert that
reviewing those documents for non-privileged material would be unduly burdensome. Ex. 4 at 3.
Yet Defendants have refused to name the Group’s members, identify the subject matter of the
supposed legal advice, or estimate what portion of the communications are privileged. Id.




       Data Working Group documents are highly relevant and, contrary to Defendants’ claim,
proportionate:                            , and most of its documents are likely unprivileged.

        The Data Working Group’s Activities, and Therefore Its Documents, Are Undisputedly
Highly Relevant. The Data Working Group’s activities are relevant to several issues in the case.
First, the existence or development of licensing market. Am. Geophysical Union v. Texaco Inc.,
60 F.3d 913, 928 (2d Cir. 1994).

                                                                                          will
show the existence of a licensing market. Second, damages. A key term in acquiring data is the
price of a license, directly relevant to lost licensing revenues.

                                                                          Those factors inform the
relative value of different types of data, and thus the portion of Defendants’ “profits . . . that are
attributable to” their use of copyrighted books. 17 U.S.C. § 504(b). And third, Microsoft’s liability.


           bear on Microsoft’s willful direct infringement, and on its knowledge and support of
OpenAI’s data use—elements of Plaintiffs’ contributory infringement claim.

        OpenAI Has Failed To Meet Its Burden To Show That Production of Data Working
Group Documents Is Unduly Burdensome. Defendants do not dispute that these documents are
relevant, but say that any search for them—of any scope—is unduly burdensome, because (they
assert) many of them are likely to be privileged. As an initial matter, despite the Court’s guidance
at the prior hearing, see Tr. 14-17, Defendants have refused to provide any support for that
objection. They have not disclosed the number of documents at issue, or even identified the
Group’s members. Ex. 4 at 3. That alone justifies overruling this objection. Delta Air Lines, Inc.
v. Lightstone Grp., LLC, No. 21-MC-374, 2021 WL 2117247, at *2 (S.D.N.Y. May 24, 2021)
(Wang, J.) (“The party opposing discovery has the burden of demonstrating an undue burden . . .”).

       In any event, the contention that a large portion of these documents are privileged is highly
dubious.




                                        the Group’s communications will reflect that.
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           Defendants respond

                                  communications are not privileged simply because they involve
lawyers—particularly in-house counsel, who often have “mixed business-legal responsibility.”
Shih v. Petal Card, Inc., 565 F. Supp. 3d 557, 567 (S.D.N.Y. 2021); see also MSF Holding, Ltd.
v. Fiduciary Tr. Co. Int’l, No. 03-CV-1818, 2005 WL 3338510, at *1 (S.D.N.Y. Dec. 7, 2005).
“[T]he importance of applying the privilege cautiously and narrowly is heightened in the case of
corporate staff counsel, lest the mere participation of an attorney be used to seal off disclosure.”
Shih, 565 F. Supp. 3d at 567. That risk is especially salient here. OpenAI had at least one lawyer
in a non-legal role: Tom Rubin, OpenAI’s Chief of Intellectual Property and Content. In his own
words, Mr. Rubin manages “products, policy and partnerships” 2—a commercial role. See id. (no
privilege where attorney was not “serving on any regular . . . basis as legal counsel”).




                                                        Defendants cannot turn a blind eye to that
by refusing to review the documents altogether. TIG Ins. Co. v. Swiss Reins. Am. Corp., No. 21-
CV-8975, 2023 WL 6058649 (S.D.N.Y. Sept. 18, 2023) (no “blanket” privilege for “Key Case
Committee” that gave “both legal and strategic advice” and involved “business evaluations,”
noting, “the presence of counsel at a meeting is not determinative”).

         Defendants’ refusal to log what they are withholding is all the more problematic given their
questionable claim of privilege. They argue that, under the “common interest” doctrine, they did
not waive privilege by sharing legal advice with one another. Ex. 4 at 6. But the common interest
doctrine—which they bear the burden of proving—requires an agreement to pursue a joint legal
strategy, Denney v. Jenkens & Gilchrist, 362 F. Supp. 2d 407, 415 (S.D.N.Y. 2004), and a common
legal (not business) interest. Bank Brussels Lambert v. Credit Lyonnais (Suisse) S.A., 160 F.R.D.
437, 448 (S.D.N.Y. 1995). As such, it is almost unfailing rejected absent concretely anticipated
litigation. Id.; Denney, 362 F. Supp. 2d 415.

                                                        They have not met their burden of showing
common interest, and cannot rely on that doctrine to refuse to even review the Data Working Group
documents. At a minimum, Defendants must log any Data Working Group document they
withhold, to give Plaintiffs’ a full opportunity to assess that claim of privilege. 40 Gardenville LLC
v. Travelers Property Casualty, 02-CV-788, at *6 (W.D.N.Y. Apr. 22, 2004) (overruling privilege
objections altogether where defendants failed to serve a log).

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    https://www.rcfp.org/thomascrubin/
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                                   Sincerely,

LIEFF CABRASER HEIMANN    SUSMAN GODFREY LLP        COWAN, DEBAETS,
& BERNSTEIN LLP                                     ABRAHAMS & SHEPPARD
                                                    LLP

/s/ Rachel Geman          /s/ Rohit Nath            /s/ Scott J. Sholder
Rachel Geman              Rohit Nath                Scott J. Sholder
